 Case: 19-10847    Document: 00515931634 Page: 1 Date Filed: 07/09/2021
Case 3:19-cv-00291-D Document 87 Filed 07/09/21 Page 1 of 2 PageID 98240




            United States Court of Appeals
                 for the Fifth Circuit                            United States Court of Appeals
                                                                           Fifth Circuit

                                                                         FILED
                                                                     June 17, 2021
                                    No. 19-10847
                                                                    Lyle W. Cayce
                                                                         Clerk

    In the Matter of: Acis Capital Management, L.P.,

                                                                        Debtor,

    -----------------------------

    Neutra Limited;

                                                                   Appellant,

                                       versus

    Robin E. Phelan, Chapter 11 Trustee,

                                                                      Appellee.



                   Appeal from the United States District Court
                       for the Northern District of Texas
                             USDC No. 3:19-CV-291
 Case: 19-10847    Document: 00515931634 Page: 2 Date Filed: 07/09/2021
Case 3:19-cv-00291-D Document 87 Filed 07/09/21 Page 2 of 2 PageID 98241


                                     No. 19-10847


    Before Smith, Ho, and Oldham, Circuit Judges.
    Per Curiam:*
           Having thoroughly reviewed the parties’ briefs and arguments, we
    conclude the district court’s judgment affirming the bankruptcy court’s
    order confirming the Chapter 11 plan must be AFFIRMED. We further
    conclude the appeal of the district court’s plan injunction is moot and must
    be DISMISSED.




           *
             Pursuant to 5th Circuit Rule 47.5, the court has determined that this
    opinion should not be published and is not precedent except under the limited
    circumstances set forth in 5th Circuit Rule 47.5.4.




                                          2
